                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         WESTERN DISTRICT OF MISSOURI
                            SOUTHWESTERN DIVISION


UNITED STATES OF AMERICA,                          )
                                                   )
                          Plaintiff,               )
                                                   )
         vs.                                       )      No. 14-05032-02-CR-SW-MDH
                                                   )
ISRAEL BELMONTES-CISNEROS,                         )
                                                   )
                          Defendant.               )


                        ACCEPTANCE OF PLEA OF GUILTY AND
                             ADJUDICATION OF GUILT


         Pursuant to the Report and Recommendation of the United States Magistrate Judge, to

which there has been no timely objection, the plea of guilty of the Defendant to Count One

contained in the Superseding Indictment filed on September 30, 2014, is now Accepted and the

Defendant is Adjudged Guilty of such offense. Sentencing will be set by subsequent Order of the

Court.




                                                      s/Douglas Harpool
                                                        DOUGLAS HARPOOL
                                                   UNITED STATES DISTRICT JUDGE




Date: July 28, 2015




         Case 3:14-cr-05032-MDH        Document 240      Filed 07/28/15    Page 1 of 1
